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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   MELISSA FRET,                                             CASE NO:

              Plaintiff,

   vs.

   BH MANAGEMENT SERVICES, LLC,

              Defendant.
                                                    /

                                         PLAINTIFF’S COMPLAINT
                                             JURY DEMAND

         1.            Plaintiff, MELISSA FRET ("Plaintiff” or “Mrs. Fret”) brings this action against

   BH MANAGEMENT SERVICES, LLC (“Defendant” or “BHMS”) for violations of the

   Servicemembers Civil Relief Act 50 U.S.C. §3901 et. seq. (“SCRA) and the Florida Consumer

   Collection Practices act, Florida Statute §559.72 et. seq. (“FCCPA”).

                                            JURISDICTION AND VENUE

         2.            This Court has jurisdiction under 28 U.S.C. § 1331 because this action arises

   under the laws of the United States.

         3.            Supplemental jurisdiction exists for Plaintiff’s FCCPA claims pursuant to 28

   U.S.C. § 1367.

         4.            Venue here is proper under 28 U.S.C. § 1391 because a substantial part of the

   events giving rise to the claim occurred in Broward County, Florida and Defendant transacts

   business in this district.

                                                    PARTIES

         5.           Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

         6.           Plaintiff is a natural person who, at all times relevant to this action was a resident of

   Broward County.
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        7.        Plaintiff is the spouse of a servicemember as defined by 50 U.S.C §3911(4)(A).

        8.        Defendant BHMS is a property management company Missouri Corporation with

   its principal place of business in the state of Iowa with a registered agent in the state of Florida

   listed as CORPORATION SERVICE COMPANY at 1201 Hays Street Tallahassee, FL 32301.

        9.        BHMS manages an apartment complex known as The Avant at Pembroke Pines

   located at 11801 Pembroke Rd, Pembroke Pines, FL 33025. See https://livebh.com/apartments/the-

   avant-at-pembroke-pines/ (last visited September 23, 2022).

                                        STATUTORY FRAMEWORK

        The SCRA

        10.       Congress enacted the SCRA to:

               a. provide for, strengthen, and expedite the national defense through protection

                   extended by this Act to servicemembers of the United States to enable such

                   persons to devote their entire energy to the defense needs of the Nation; and

               b. provide for the temporary suspension of judicial and administrative proceedings

                   and transactions that may adversely affect the civil rights of servicemembers

                   during their military service. (50 U.S.C. § 3902)

         11.      The SCRA should be construed liberally. See LeMaistre v. Leffers, 333 U.S.

   1,6 (1948) (“The Act should be read with an eye friendly to those who dropped their affairs

   to answer their country’s call.”).

         12.      Under 50 U.S.C. §3955, the lessee on a lease may terminate such a lease at

   any time after ---

                  (A) the lessee's entry into military service;
                  (B) the date of the lessee's military orders described in paragraph (1)(B) or
                  (2)(B) of subsection (b), as the case may be
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            13.   The SCRA grants any aggrieved person a private right of action and the right to

   obtain equitable relief, monetary damages, punitive damages, costs, and attorney’s fees, and “all

   other appropriate relief.” See 50 U.S.C. §4042, 4043.

        The FCCPA

        14.       Consumer protection statutes are remedial in nature and should be liberally

   construed in favor of the public. See Samara Dev. Corp. v. Marlow, 556 So. 2d 1097, 1100 (Fla.

   1990).

        15.       “The Florida Consumer Collection Practices Act (FCCPA) is a laudable legislative

   attempt to curb what the Florida Legislature has evidently found to be a series of abuses in the area

   of debtor-creditor relations. The FCCPA is to be construed in a manner that is protective of the

   consumer.” Laughlin v. Household Bank, Ltd., 969 So. 2d 509 (Fla. 1st DCA 2007).

        16.       “The Florida Legislature, in enacting the FCCPA, has further defined and protected

   an individual’s right of privacy in the State of Florida.” Id.

            17.   Under the FCCPA, “[a] plaintiff is not required to prove actual damages, but only a

   violation of one of the prohibited practices in the Florida Consumer Collection Practices Act.” Id.

            18.   The FCCPA defines the term “debt” as “any obligation or alleged obligation of a

   consumer to pay money arising out of a transaction in which the money, property, insurance, or

   services which are the subject of the transaction are primarily for personal, family, or household

   purposes, whether or not such obligation has been reduced to judgment.” Fla. Stat. § 559.55(6)

   (emphasis added).

            19.   The FCCPA defines the term “consumer” as “any natural person obligated or

   allegedly obligated to pay any debt.” Fla. Stat. § 559.55(8) (emphasis added).

            20.   The FCCPA mandates that “no person” shall engage in certain practices in collecting

   consumer debt. Fla. Stat. § 559.72. This language includes all unlawful attempts at collecting
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   consumer debts by creditors and debt collectors alike. See Williams v. Streeps Music Co., 333 So.

   2d 65, 67 (Fla. Dist. Ct. App. 1976); see also Schauer v. GMAC, 819 So. 2d 809 (Fla. 4th DCA

   2002); Gann v. BAC Home Loans Servicing LP, 145 So. 3d 906, 908 (Fla. 2nd DCA 2014).

         21.      Defendants are each a “person” subject to the provisions of Florida Statute §559.72

   because said section applies to “any person” who collects or attempts to collect a consumer debt as

   defined by Florida Statute §559.55(1).

         22.      The FCCPA applies to BHMS as a “debt collector” because such a term means “any

   person who uses any instrumentality of commerce within this state, whether initiated from within

   or outside this state, in any business the principal purpose of which is the collection of debts, or

   who regularly collects or attempts to collect, directly or indirectly, debts owed or due or asserted to

   be owed or due another.” Florida Statute §559.55(7).

         23.      Additionally, the FCCPA provides that no person shall “[d]isclose to a person other

   than the debtor or her or his family information affecting the debtor’s reputation, whether or not for

   credit worthiness, with knowledge or reason to know that the other person does not have a

   legitimate business need for the information or that the information is false.” Fla. Stat. § 559.72(5).

         24.      Florida Statute § 559.72(9) requires that no person shall “[c]laim, attempt, or

   threaten to enforce a debt when such person knows that the debt is not legitimate, or assert the

   existence of some other legal right when such person knows that the right does not exist.”

         25.      The FCCPA creates a private right of action under Florida Statute § 559.77(1) and

   any person who violates any provision of the FCCPA is liable for actual damages, statutory

   damages not exceeding $1,000, court costs, attorney’s fees, punitive damages, and equitable relief

   pursuant to Section 559.77(2).
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      33.          Mrs. Fret reviewed her available credit reports to see that BHMS had referred her

  account with Avant at Pembroke Pines to Rent Recovery Solutions, LLC claiming $800 was owed.

      34.          Based on information and belief, this $800 collection account appears on Mrs. Frets

  credit files with Equifax and Trans Union Resident Screening. The reporting to Equifax appeared

  on Mrs. Fret’s credit file with the following image




      35.          Unfortunately, Mrs. Fret was forced to pay an increased deposit to her new

  apartment complex because of the collections account.

      36.          As a result, Mrs. Fret disputed the reporting by sending dispute letters to Equifax,

  Trans Union Resident Screening, and Rent Recovery Solutions, LLC to have such negative and

  inaccurate information removed so it would no longer affect her in future credit or resident

  applications.

                              COUNT I – VIOLATIONS OF 50 U.S.C. §3955

       37.         Plaintiff incorporates by reference her allegations in paragraphs 1 – 36 above as if

   fully set forth herein.
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       38.          Pursuant to §3955 of the SCRA Defendant was required to terminate Plaintiff’s lease

   when she notified them of her military orders.

       39.          Plaintiff provided the military orders promptly, yet Defendant completely ignored

   their duties under the SCRA and instead proceeded to treat Plaintiff’s account as any other

   collection of rent or unpaid amounts.

       40.          As a result of Defendant’s SCRA violations Plaintiff has suffered actual damages in

  multiple forms including having to pay an increased security deposit at her new apartment complex

  and other credit damages.

       41.          Plaintiff is entitled to an award of prevailing party attorney’s fees and costs pursuant

   to 50 U.S.C. §4042 and punitive damages pursuant to 50 U.S.C. §4043

             WHEREFORE, Plaintiff, prays this Honorable Court to enter the following relief against

   BHMS of actual damages, punitive damages, Attorneys’ fees, litigation expenses and costs, interest

   as permitted by law, and such other and further relief including as the Court deems equitable and

   just under the circumstances.

                COUNT II – VIOLATIONS OF FLA. STAT. §559.72(5)
      AGAINST BHMS FOR DISCLOSURES TO RENT RECOVERY SOLUTIONS, LLC

       42.         Plaintiff incorporates by reference her allegations in paragraphs 1 – 36 as if fully set

 forth herein.

       43.         At all times relevant to this action, BHMS is subject to and must abide by the law of

 Florida, including Florida Statute § 559.72.

       44.         BHMS violated Florida Statute § 559.72(5) by disclosing to a person other than the

 Plaintiff or his family information affecting Plaintiff’s reputation, whether or not for credit

 worthiness, with knowledge or reason to know that the other person does not have a legitimate

 business need for the information or that the information is false.
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       45.        Specifically, BHMS disclosed false information affecting Plaintiff’s reputation to

  Rent Recovery Solutions, LLC: that Plaintiff’s owed $800 despite lawfully terminating her lease

  under the SCRA.

       46.        “Any person who fails to comply with any provision of s. 559.72 is liable for actual

  damages and for additional statutory damages as the court may allow, but not exceeding $1,000,

  together with court costs and reasonable attorney’s fees incurred by the plaintiff. In determining the

  defendant’s liability for any additional statutory damages, the court shall consider the nature of the

  defendant’s noncompliance with s.559.72, the frequency and persistence of the non-compliance, and

  the extent to which the noncompliance was intentional.” Fla. Stat. 559.77(2) (emphasis added).

       47.        As a result of BHMS’s violations, Plaintiff suffered damages, including but not

  limited to, time spent addressing Defendant’s illegal collection practices, damage to her reputation

  for credit worthiness, misrepresentation of an amount to a third party, and the emotional and mental

  distress associated with BHMS actions or inactions.

       48.        Damages in the form of reputation being affected are the “class of injury where

  damages are difficult to prove and at the same time provide a penalty to dissuade parties . . . from

  engaging in collection practices which may have been heretofore tolerated industry wide.” See

  Laughlin v. Household Bank, 969 So. 2d 509, 513 (Fla. 1st DCA. 2007) (quoting Harris v. Beneficial

  Finance Company of Jacksonville, 338 So.2d 196, 200 (Fla. 1976)). Accordingly, Plaintiff “is not

  required to prove actual damages, but only a violation of one of the prohibited practices in the

  FCCPA.” Id. “As discussed above, by enacting section 559.77, the Legislature intended to provide

  statutory damages in an area where the amount of damages are difficult to calculate.” Id. at 514.

               WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor

  and against BHMS for: actual damages, statutory damages, and punitive damages pursuant to Fla.
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  Stat. §559.77; attorneys’ fees, litigation expenses and costs of the instant suit; and such other or

  further relief as the Court deems proper.

                       COUNT III – VIOLATIONS OF FLA. STAT. 559.72(9)
                                      AGAINST BHMS

      49.         Plaintiff incorporates by reference her allegations in paragraphs 1 – 36 as if fully set

  forth herein.

      50.         At all times relevant to this action, BHMS is subject to and must abide by the law of

  Florida, including Florida Statute § 559.72.

      51.         BHMS violated Florida Statute § 559.72(9) by claiming, attempting, or threatening

  to enforce a debt when Defendant knew that the debt was not legitimate, or asserting the existence of

  some other legal right when Defendant knew that right did not exist.

      52.         Specifically, BHMS’ communications to Plaintiff via email as detailed above claim

  that the residential lease supersedes Plaintiff’s rights under the SCRA and illegally holds her

  responsible for early termination.

      53.         “Any person who fails to comply with any provision of s. 559.72 is liable for actual

  damages and for additional statutory damages as the court may allow, but not exceeding $1,000,

  together with court costs and reasonable attorney’s fees incurred by the plaintiff. In determining the

  defendant’s liability for any additional statutory damages, the court shall consider the nature of the

  defendant’s noncompliance with s.559.72, the frequency and persistence of the non-compliance, and

  the extent to which the noncompliance was intentional.” Fla. Stat. 559.77(2) (emphasis added).

      54.         As a result of Defendant’s violations, Plaintiff suffered damages, including but not

  limited to, time spent addressing Defendant’ illegal collection practices and related emotional

  distress.
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               WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in her favor

  and against BHMS for: actual damages, statutory damages, and punitive damages pursuant to Fla.

  Stat. §559.77; attorneys’ fees, litigation expenses and costs of the instant suit; and such other or

  further relief as the Court deems proper.

                                              JURY DEMAND

     55.        Plaintiff demands a trial by jury on all issues so triable.

                                                    Respectfully submitted,
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